                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TENNESSEE
                                  CHATTANOOGA DIVISION


    TERPSEHORE MARAS,


         Plaintiff,
                                                          Case. No. 1:21-cv-00317-DCLC-CHS
    v.
                                                          JUDGE CLIFTON L. CORKER
    THEHUFFINGTONPOST, INC.,
    REPRESENTATIVE STEVE COHEN, US
    DOMINION, INC., DOMINION VOTING
    SYSTEMS, INC., DOMINION VOTING
    SYSTEMS CORPORATION, MEDIA
    MATTERS FOR AMERICA and ALI
    ABDUL RAZAQ AKBAR A/KA/ ALI
    ALEXANDER,

         Defendants.


           PLAINTIFF TERPSEHORE MARAS’ MOTION TO STRIKE DOMINION’S
           MOTION TO DISMISS AND ITS SUPPORTING MEMORANDUM OF LAW


            COMES NOW Plaintiff Terpsehore Maras and, by and through undersigned counsel and

   pursuant to Fed. R. Civ. P. 12(f), hereby files this Motion to Strike Dominion’s Memorandum of Law

   in Support of Dominion’s Motion to Dismiss (Doc. No. 22) and in support of said motion respectfully

   shows unto this Honorable Court the following:

                           I.      RELEVANT PROCEDURAL HISTORY

            On October 29, 2021, Plaintiff filed a lawsuit against all named Defendants in the Hamilton

   County Circuit Court, which is a court of general jurisdiction. The Hamilton County Circuit Court

   had personal jurisdiction and subject matter jurisdiction over all defendants. Venue was proper in the

   Hamilton County Circuit Court because, at the time the case was filed, one of the named Defendants

   was Chattanooga News Chronicle. The remaining Defendants were proper by way of supplemental


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   jurisdiction. However, even though the parties were not diverse and there were forum Defendants,

   Congressman Steve Cohen had a statute that permitted him to remove the entire case to federal court.

   As such, pursuant to 28 U.S.C. § 1442(a), Congressman Cohen properly removed the entire case to

   federal court. Since the case was properly pending in the Hamilton County Circuit Court,

   Congressman Cohen was required to remove the case to The United States District Court, Eastern

   District of Tennessee, Chattanooga Division, pursuant to 28 U.S.C. § 1446(a), which states: “A

   defendant or defendants desiring to remove any civil action from a State court shall file in the district

   court of the United States for the district and division within which such action is pending ….”

   28 U.S.C.A. § 1446(a).

            On December 27, 2021, Congressman Steve Cohen removed this case1 to the United States

   District Court, Eastern District of Tennessee, Chattanooga Division. On December 27, 2021, this

   Court entered an Order Governing Motions to Dismiss (Doc. No. 7). Pursuant to Fed. R. Civ. P.

   41(a)(1)(A), January 5, 2022, Plaintiff filed a Notice of Voluntary Dismissal without Prejudice for

   Defendants, Ohio Intelligence Tips, Ross Elder and Chattanooga News Chronicle (Doc. 11).




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     The Motion for Show Cause hearing and supporting evidence was filed with the Hamilton County Circuit Court, but
   it was not included on the docket report and does not appear to have been included in the removal of this case. The
   motion was pending before the Hamilton County Circuit Court at the time of removal. Plaintiff will file an electronic
   copy of said motion and will contact the Circuit Court to have the clerk forward the original evidence to this Court.


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           Therefore, since the case was removed from the Hamilton County Circuit Court, this

   Honorable Court has subject matter jurisdiction. In addition to the removal pursuant to 28 U.S.C. §§

   1442 and 1446, all parties are now diverse. The amount in controversy exceeds seventy-five thousand

   dollars ($75,000). There is no Defendant that is a resident of the forum. This Honorable Court has

   personal jurisdiction over all Defendants by way of Fed. R. Civ. P. 4(k)(1). Venue statutes are not

   considered after a case is removed. The venue statutes tell the Plaintiff where to initiate the case; not

   where the Defendants remove the case.

           Plaintiff agrees with the Dominions Defendants that they satisfied the “meet and confer”

   requirement, although the parties contest the viability of Plaintiff’s Complaint. On January 20, 2022,

   the Dominion Defendants filed a consolidated Motion to Dismiss (Doc. No. 21). In support of

   Dominion’s Motion to Dismiss, the Dominion Defendants also filed its Memorandum of Law in

   Support of Dominion’s Motion to Dismiss, which contained “immaterial, impertinent, or scandalous”

   matters, which is the reason for this Motion to Strike. See Fed. R. Civ. P. 11(f). The offending section

   is not numbered, but it is entitled “Plaintiff’s involvement in litigation giving rise to this case” (Doc.

   No. 22, pp. 3-4.). The offending section’s content is omitted so it is not in the record on appeal.

           While certain defamatory statements in Dominion’s “Statement of Facts” may be protected

   by a litigation privilege, they are certainly “immaterial, impertinent, or scandalous” to present to this

   Honorable Court (or in the record for any appellate court on appeal) when determining the viability

   of Plaintiff’s Complaint. As such, Plaintiff respectfully requests that this Court enter an order to strike

   the following: (1) Dominion’s Motion to Dismiss (Doc. No. 21); and (2) Memorandum of Law in

   Support of Dominion’s Motion to Dismiss (Doc. No. 22). Plaintiff understands that Dominion timely

   filed its motion and so Dominion is entitled to have its Motion to Dismiss presented and heard so

   Plaintiff respectfully requests that this Court include in its Order provide an extension of time for the

   Dominion Defendants to remove the offending paragraphs and to refile its Motion to Dismiss and

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   Memorandum of Law in Support of Dominion’s Motion to Dismiss. The Dominion Defendants will

   not be prejudiced if they are granted an extension and are given an opportunity to refile.

                       II.     ARGUMENT AND CITATION OF AUTHORITY

           The Federal Rules of Civil Procedure are written by The Supreme Court of the United States

   and they govern procedure and they direct the district courts on how to handle matters before the

   court. The Federal Rules of Civil Procedure enjoy “presumptive validity” as they are written

   by the Supreme Court of the United States. See Burlington Northern R. Co. v. Woods, 480 U.S. 1,

   6, 107 S.Ct. 967, 94 E. Ed. 2d 1 (1987); Gil de Rebollo v. Miami Heat Assocs., Inc., 137 F.3d 56,

   65 (1st Cir. 1998). And the Federal Rules of Civil Procedure have the force and effect of a

   federal statute. Sibbach v. Wilson Co, 312 U.S. 1, 61 S.Ct. 422, 312 U.S. 655, 85 L.Ed. 479 (1941)

   (emphasis added). Pursuant to Fed. R. Civ. P. 12(f), this Honorable Court may strike from the

   record “any redundant, immaterial, improper, or scandalous matter.” (emphasis added).




           In the case at bar, the Dominion Defendants have attempted to prejudice this Honorable

   Court’s view of Plaintiff Terpsehore Maras by improperly presenting to the Court immaterial matters,

   impertinent matters and scandalous matters. The Motion to Dismiss tests the viability of the Plaintiff’s

   Complaint. The Memorandum of Law briefs the Court on the relevant law and can also include a

   recitation of relevant facts. However, a recitation of events that occurred in North Dakota from 2018

   is not relevant to testing the viability of the Plaintiff’s Complaint. A recitation of events that occurred

   in North Dakota from 2018, is “immaterial, impertinent, or scandalous” and the only purpose for

   presenting this completely irrelevant information is an improper attempt by the Dominion Defendants

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   to prejudice this Court against Ms. Terpsehore Maras. This bell cannot be “unrung” but this Honorable

   Court can, and should, prevent the appellate courts from reading these improper and prejudicial

   statements. Additionally, Plaintiff vehemently disputes the veracity of those alleged “facts” and she

   has already started the process of correcting the record, and clearing her name, as she has already

   given pre-suit notice to the State of North Dakota and certain other potential Defendants of her intent

   to file suit over the law fare and defamation she underwent. Plaintiff respectfully requests that this

   Honorable Court disregard Dominion’s improper attempt to prejudice this Court and to not consider

   Dominion’s improper statements when determining the viability of the Plaintiff’s Complaint.

                                          III.    CONCLUSION

           Based upon the foregoing, Plaintiff respectfully requests that the Motion to Dismiss (Doc. No.

   21) and the Memorandum of Law in Support of Dominion’s Motion to Dismiss (Doc. No. 22) be

   struck from the record. Since said motion was timely filed, Plaintiff respectfully request that this Court

   include in its Order an extension of time for the Dominion Defendants to remove the offending

   paragraphs and to refile their Motion to Dismiss and Memorandum of Law in Support of Dominion’s

   Motion to Dismiss.

           Respectfully submitted this 21st day of January, 2022.



                                                            THE NEWMAN LAW FIRM



                                                            /s/ Russell A. Newman            __________
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                                  CERTIFICATE OF SERVICE

          I, Russell A. Newman, do hereby certify that I am counsel for Plaintiff Terpsehore Maras

   in the above-captioned matter and that a copy of the PLAINTIFF TERPSEHORE MARAS’

   MOTION TO STRIKE DOMINION’S MOTION TO DISMISS AND ITS SUPPORTING

   MEMORANDUM OF LAW was filed and served via the CM/ECF system for the United States

   District Court, Eastern District of Tennessee, Chattanooga Division via electronic mail to the

   following CM/ECF filers:

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   And via U.S. Mail on the following non-registered CM/ECF filers:

          Media Matters for America
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        Ali Abdul Razaq Akbar a/k/a Ali Alexander
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        Respectfully submitted this 21st day of January, 2022.

                                                    THE NEWMAN LAW FIRM



                                             By:    /s/ Russell A. Newman ___________
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